Case 8:24-bk-10285-MH   Doc 31 Filed 04/11/24 Entered 04/11/24 11:11:03   Desc
                         Main Document    Page 1 of 8
Case 8:24-bk-10285-MH   Doc 31 Filed 04/11/24 Entered 04/11/24 11:11:03   Desc
                         Main Document    Page 2 of 8
Case 8:24-bk-10285-MH   Doc 31 Filed 04/11/24 Entered 04/11/24 11:11:03   Desc
                         Main Document    Page 3 of 8
Case 8:24-bk-10285-MH   Doc 31 Filed 04/11/24 Entered 04/11/24 11:11:03   Desc
                         Main Document    Page 4 of 8
Case 8:24-bk-10285-MH   Doc 31 Filed 04/11/24 Entered 04/11/24 11:11:03   Desc
                         Main Document    Page 5 of 8
Case 8:24-bk-10285-MH   Doc 31 Filed 04/11/24 Entered 04/11/24 11:11:03   Desc
                         Main Document    Page 6 of 8
Case 8:24-bk-10285-MH   Doc 31 Filed 04/11/24 Entered 04/11/24 11:11:03   Desc
                         Main Document    Page 7 of 8
Case 8:24-bk-10285-MH   Doc 31 Filed 04/11/24 Entered 04/11/24 11:11:03   Desc
                         Main Document    Page 8 of 8
